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                                                                                                   $80.00
                                   Per 28 U.S.C. §1821 (See attached)



                                                                                                   $425.40
                                                      Incorrect amount was totalled




                                                                                               $11,146.44




                      $11,146.44

Kiry K. Gray                                                                   September 6, 2018
                                                Martha L. Cabrera
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                                                                           $40.00

                                                                           $40.00


                               28 U.S.C. § 1821 (b) A witness shall be
                               paid an attendance fee of $40 per day for
                               each day’s attendance.
